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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                   Plaintiff,                             4:12-CR-3021

vs.
                                                             ORDER
JARED LANCE HOWE,

                   Defendant.

       This matter is before the Court on correspondence from the defendant
(filing 112) that the Court construes as a motion for appointment of counsel.
The Court will deny the motion because it is moot: the Federal Public
Defender has already been appointed to represent the defendant with respect
to any sentence reduction available pursuant to Amendment 782 to the
Sentencing Guidelines. See, General Order No. 2014-06; General Order No.
2014-09. Pursuant to General Order No. 2014-09, the Federal Public
Defender will file a motion when the matter is ready for progression.1

      IT IS ORDERED:

      1.     The defendant's motion to appoint counsel (filing 112) is
             denied as moot.

      2.     The Clerk of the Court shall provide a copy of this order to
             the above-captioned defendant and to all counsel.

      Dated this 22nd day of December, 2014.

                                             BY THE COURT:



                                             John M. Gerrard
                                             United States District Judge


1 The Court understands that the defendant is, no doubt, anxious to learn whether his
sentence will be reduced, and by how many months. But General Order No. 2014-09 was
entered in 564 different cases in Nebraska, so some patience may be required.
